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 2
 3                        UNITED STATES DISTRICT COURT
 4                      EASTERN DISTRICT OF WASHIGNTON
 5
 6 UNITED STATES OF AMERICA,                      No. CR-13-008-WFN-33
 7
 8                     Plaintiff,                 ORDER DENYING
 9 vs.                                            DEFENDANT’S RENEWED
10 NACRISSA GREENIDGE, aka                        REQUEST TO TRAVEL
11 Nacrissa Ramsey,
12
13                     Defendant.
14
15         Before the court is defendant’s renewed Motion for Permission to Travel to
16   the U.S. Virgin Islands for her honeymoon. For the reasons stated in the previous
17   orders denying (ECF No. 928 and No. 1025) and having considered the latest
18   Supplemental Pretrial Services Report (ECF 1213) and the arguments of the
19   parties, the undersigned is unable to conclude defendant will be supervisable. The
20   lastest Pretrial Services Report notes she has missed two appointments with her
21   Supervising Pretrial Services Officer. The Motion (ECF No. 1193) is DENIED.
22
23         DATED July 19, 2013.

24
25                           S/ CYNTHIA IMBROGNO
                        UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
